                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

  IN RE:                                             )
                                                     )
  POINTCLEAR SOLUTIONS, INC.,                        ) CASE NO. 18-83286-CRJ11
  EIN: XX-XXX1564                                    ) CHAPTER 11
                                                     )
       Debtor.                                       )

             MOTION FOR AUTHORIZATION TO USE CASH COLLATERAL

        COMES NOW PointClear Solutions, Inc., as debtor-in-possession in the above-styled

 Chapter 11 case ("Debtor"), and requests this Court for authorization to use cash collateral. In

 support of this Motion, Debtor states as follows:

                                  JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this Chapter 11 case under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this district under

 28 U.S.C. §§ 1408 and 1409.

        2.       The statutory bases for the relief this Motion seeks are Bankruptcy Code §§ 105(a),

 363(b), and 507(a)(4) and (5) and Bankruptcy Rules 6003 and 6004.

                                          BACKGROUND

        3.       PointClear Solutions, Inc., is an Alabama corporation with its principal place of

 business at 908 Merchants Walk, Huntsville, Alabama, 35801.

        4.       Debtor is engaged in the business of software consulting and development.

        5.       On November 2, 2018 (the "Petition Date"), Debtor filed a voluntary petition in this

 Court under Chapter 11 of the United States Code, 11 U.S.C. § 101 et seq. (the "Bankruptcy

 Code"). A Trustee has not been appointed and Debtor continues to operate its business as a debtor-

 in-possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

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        6.      No official committees have been appointed in this case. No party has requested

 the appointment of a trustee or an examiner.

        7.      Debtor plans to continue to operate its business and manage its business as a debtor

 in possession under §§ 1107(a) and 1108 of the Bankruptcy Code. Through the filing of this

 Chapter 11 petition, Debtor seeks to accomplish a successful reorganization of its business, which

 will allow Debtor post-confirmation to continue to operate its business.

                                      RELIEF REQUESTED

        8.      The accounts receivable which are subject to the existing security agreement

 constitute “cash collateral” within the meaning of § 363(a) of the Bankruptcy Code. Section

 363(c)(2) prohibits a debtor from utilizing cash collateral with the consent of such party or absent

 Court approval.

        9.      Pursuant to § 363(c)(2)(B), Debtor seeks authorization from this Court, after notice

 and hearing, to use the cash collateral of Progress Bank pursuant to the terms and conditions

 encompassed within this Court’s Order Granting Adequate Protection and Permitting Use of Cash

 Collateral (the “Cash Collateral Agreement”).

        10.     Debtor’s only source of cash for the continued operation of its business is operating

 revenue, which is cash collateral. Debtor has an immediate need for authority to continue to use

 the cash collateral in its ongoing business operations. If Debtor is not permitted to use the cash

 collateral, it will have to shut down its business, thus hindering any prospects of future

 reorganization.

        11.     The value securing the Progress Bank loan is valued at $450,655.00.

        12.     A three (3) month rolling budget, which is attached as Exhibit A, indicates that the

 Debtor anticipates being profitable and protecting the cash collateral position of the Bank.

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        13.     WHEREFORE, the Debtor respectively requests this Court to enter an Order

 permitting use of cash collateral upon the terms and conditions stated herein and to grant such

 other and further relief as this Court deems just and proper.

        Respectfully submitted November 2, 2018.

                                                                 /s/ Stuart M. Maples
                                                                 STUART M. MAPLES

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 Huntsville, Alabama 35801
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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on November 2, 2018, a copy of the foregoing document was
 served on the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 P. O. Box 3045
 Decatur, AL 35602


 20 Largest Unsecured Creditors

        I do hereby certify that on November 2, 2018, a copy of the foregoing document was
 served on the following by regular US Mail.

 Progress Bank
 201 Williams Avenue
 Huntsville, AL 35801

                                                                 /s/ Stuart M. Maples
                                                                 STUART M. MAPLES




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  EXHIBIT A
                            PointClear Solutions, Inc.
                             Rolling 3 Month Budget
                                     10/31/18


REVENUE                                            Nov '18       Dec '18        Jan '19
             CS AR/Deposits Received         $    277,499 $     294,129 $     338,248
             Subscription AR Received        $     68,152 $      68,152 $      10,440
                               TOTAL REVENUE $    345,651 $     362,281 $     348,688

EXPENSES
             COGS Subcontractors              $    43,800   $    78,496   $    89,079
             COGS Employee Net Payroll        $    71,500   $    71,500   $    71,500
             SGA Employee Mgt/Sales Payroll   $    38,500   $    38,500   $    38,500
             Federal Payroll Taxes            $    43,000   $    43,000   $    43,000
             State Witholding Taxes           $     4,000   $     4,000   $     4,000
             401k Deposits                    $     3,250   $     3,250   $     3,250
             Child Support                    $     1,566   $     1,566   $     1,566
             Health Insurance                 $    14,500   $    14,500   $    14,500
             Other Insurance                  $     1,763   $     1,763   $     1,763
             IT Expenses                      $     7,780   $    12,780   $     7,780
             Accounting                       $     4,850   $     4,850   $     4,850
             Marketing - External             $     1,000   $     1,000   $     1,000
             HR                               $       500   $       500   $       500
             Office Expenses                  $     1,500   $     1,500   $     1,500
             Rent                             $     7,500   $    17,500   $    17,500
                  TOTAL EXPENSES+BANK PMTS    $   245,009   $   294,705   $   300,288

NET PROFIT                                    $   100,642 $      67,576 $      48,400
                                                    29.1%         18.7%         13.9%




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